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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
______________________________________________________________________________

MARC GANOW,                                             CASE NO. 1:17-cv-01486-VAC-CJB

                  Plaintiff,

           vs.

BARCLAYS BANK DELAWARE and
TRANS UNION, LLC,

            Defendants.
______________________________________________________________________________

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                    DEFENDANT TRANS UNION, LLC ONLY
______________________________________________________________________________

           Plaintiff Marc Ganow (“Plaintiff”), by counsel, and Defendant Trans Union, LLC (“Trans

Union”), by counsel, hereby stipulate and agree that all matters herein between them have been

compromised and settled, and that Plaintiff’s cause against Trans Union only should be dismissed,

with prejudice, with each party to bear its own costs and attorneys’ fees.

                                                        GARIBIAN LAW OFFICES, P.C.


Date: February 14, 2018                                 /s/ Antranig N. Garibian (with consent)
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Date: February 14, 2018                           COOCH AND TAYLOR, P.A.


                                                  /s/ Blake A. Bennett
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